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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                       )
JOHN DOE,                              )
                                       )
               Petitioner,             ) Civil Action No. 1:17-cv-2069 (TSC)
                                       )
      v.                               )
                                       )
GEN. JAMES N. MATTIS,                  )
 in his official capacity as SECRETARY )
 OF DEFENSE,                           )
                                       )
               Respondent.             )


                                           NOTICE

       Pursuant to the Court’s Minute Order of April 20, 2018, the parties have conferred and

agreed that no redactions to the Court’s Memorandum Opinion [ECF 87] are necessary.

Accordingly, the unredacted opinion is attached hereto.

April 23, 2018                                      Respectfully submitted,
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